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A4BCD41734ECD583F4CA473EC764G5414E1834ED7735HFB4I356G5J4G54HKG846G8H7GEH41564BCD453364HC4DI61H34BCD74LD8G53884C74EC5H1EH4
G5AC721HGC5M4BCD42D8H4AGF341564837!34HKG84AC724G5431EK4CA4BCD74I356G5J4E1838"44#CG5J48C4NGFF481HG8AB4BCD745CHGE34CLFGJ1HGC54
D56374CE1F4)DF34OPQR"S"7754166GHGC5M4GA4BCD417341473JG8H37364%'T$%4&837M4BCD42D8H4FCJ4G54HC4BCD74%'T$%41EECD5H41564
DI61H34BCD74G5AC721HGC546G73EHFB4G54HK34%'T$%4B8H32"44U444CE1F4)DF34VQS"O"W"4
/001234567890:7317;43<93=7>?646@77
A4BCD417341473JG8H37364%'T$%4&8374NGHK45C4E18384ED7735HFB4I356G5J4G54HKG846G8H7GEHM41564BCD453364HC4DI61H34BCD74
LD8G53884C74EC5H1EH4G5AC721HGC54G54HK34%CD7HX8473EC768M4BCD42D8H4FCJ4G54HC4BCD74%'T$%41EECD5H41564DI61H34BCD74
G5AC721HGC54G54HK34%'T$%4B8H32"44#CG5J48C481HG8AG384BCD74CLFGJ1HGC584D56374CE1F4)DF384VQS"O"W41564OPQR"SY4BCD46C45CH4
53364HC48DL2GH4HKG84C7415B4CHK374AC72"444
A4BCD417345CH41473JG8H37364%'T$%4&837M4K1!345C4E18384ED7735HFB4I356G5J4G54HKG846G8H7GEHM4156453364HC4DI61H34BCD74
LD8G53884C74EC5H1EH4G5AC721HGC54G54HK34%CD7HX8473EC768M4IF31834EC2IF3H34HKG84AC724BCD421B4F31!34HK34E1IHGC541564E1834
5D2L374LF15Z415643Q21GF4GH4HC4321GF[DI61H3\E1E6"D8ECD7H8"JC!4NGHK4HK348DL]3EH4FG534^HH35HGC594HHC753B462G88GC54
%F37Z"^44#CG5J48C481HG8AG384BCD745CHGE34CLFGJ1HGC54D56374CE1F4)DF34OPQR"S"44
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&834HKG84AC724C5FB4HC421Z34EK15J384HC41541HHC753BX84LD8G53884C74EC5H1EH4G5AC721HGC5M45CH4HC4EK15J3414I17HBX84
73I73835H1HGC5"44A4BCD453364HC4166M4732C!3M4C748DL8HGHDH34ECD583F4G5414I17HGEDF174E183M4D834C724aQbW4^)3cD38H4AC74
II7C!1F4CA4DL8HGHDHGC54C74dGHK671N1F4CA4%CD583F^4C74C724aQWRP4^0CHGE34CA4II31715E34C74dGHK671N1F4CA4%CD583F^"4
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      ?3<7£?²4670:1647>:?3=46751¢264`¦³77¬1¢20760?¦¦789``73107¢;<?0470:?0793¦12£?09137¦12751¢³77
    453364HC4DI61H34CHK374LD8G53884C74EC5H1EH4G5AC721HGC5"44F3183473IF1E342B4ED7735H4EC5H1EH4G5AC721HGC54NGHK4HK34ACFFCNG5J4
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I356G5J4NK354BCD4DI61H34BCD74G5AC721HGC54G54%'T$%"44A4BCD417345CH41473JG8H37364%'T$%4&837M4D8G5J4HKG84AC724HC4
DI61H34BCD74G5AC721HGC54NGFF41AA3EH4I356G5J41564ADHD734E18384C5FBM4D5F3884BCD4EK3EZ4C534CA4HK34LC¡384L3FCN9
         &I61H342B4G5AC721HGC54G541FF4E18384G5EFD6G5J4EFC8364E18384G54NKGEK44124FG8H364184ECD583F4CA473EC76"
         &I61H342B4G5AC721HGC54G54C5FB4HK34ACFFCNG5J4E1838493>`¢<47>?6473?£47?3<73¢£¤42¥7?00?>:7?<<90913?`7;?=4679¦734>466?259



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1667388"44HH356G5J414H71G5G5J48388GC54G845C4FC5J37473cDG736"4
44 4NG8K4HC473JG8H37418414%'T$%4&837"44F318348356414%'T$%4FCJG541564I188NC764HC42341H4HK343Q21GF416673884JG!354
44 1LC!34C741H4HK34ACFFCNG5J43Q21GF41667388M4GA45C534JG!3541LC!39444444444444444444444444444444444444444444444444444444444444444444444444444444444"4441J7334
44 HC41LG634LB41FF4%CD7H47DF38M4C76378M4ICFGEG38M41564I7CE36D7384JC!375G5J4D834CA4HK34%CD7HX84%'T$%4B8H32M415644
77 D56378H1564HK1H4HK34EC2LG51HGC54CA42B4D8374#41564I188NC764NGFF4837!341842B48GJ51HD734NK354AGFG5J46CED235H8"444
77 NGFF4I7CH3EH4HK3483ED7GHB4CA42B4I188NC76M41564NGFF45CHGAB4HK34%CD7H4G2236G1H3FB4GA448D8I3EH4HK1H42B4I188NC764K184
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I17HG384HC4HKG841EHGC5M4GA415B41EHGC54G845123641LC!3M4HK1H42B4LD8G53884C74EC5H1EH4G5AC721HGC54K184EK15J364184G56GE1H364
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                                                           1   ERICA J. VAN LOON – State Bar No. 227712
                                                               evanloon@lathropgage.com
                                                           2   LATHROP GAGE LLP
                                                               1888 Century Park East, Suite 1000
                                                           3   Los Angeles, California 90067
                                                               Telephone: (310) 789-4600
                                                           4   Facsimile: (310) 789-4601
                                                           5
                                                               Attorney for Defendants
                                                           6   Topson Downs of California, Inc.,
                                                               Wal-Mart Stores, Inc., and
                                                           7
                                                               Daniel Abramovitch.
                                                           8
                                                                                    UNITED STATES DISTRICT COURT
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                                                                                   CENTRAL DISTRICT OF CALIFORNIA
                                                          10
                   Los Angeles, California 90067-1623
                   1888 Century Park East, Suite 1000




                                                                                            WESTERN DIVISION
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Lathrop Gage LLP




                                                          12   FABRIC SELECTION, INC., a              CASE NO. CV 18-4626-CAS-AFM
                                                               California Corporation,
                                                          13                                          Hon. Christina A. Snyder
                                                                              Plaintiff,
                                                          14                                          NOTICE OF CHANGE OF
                                                               v.                                     ATTORNEY BUSINESS OR
                                                          15                                          CONTACT INFORMATION
                                                               TOPSON DOWNS OF CALIFORNIA,
                                                          16   INC., a California Corporation; WAL-
                                                               MART STORES, INC., a Delaware
                                                          17   Corporation; DANIEL
                                                               ABRAMOVITCH, an individual; and
                                                          18   DOES 1 through 50, Inclusive,
                                                          19                  Defendants.
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